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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                                CASE NO.:

  DOUG LONGHINI,

              Plaintiff,
  v.

  GALLART INVESTMENT, INC.;
  GALLART OIL, CORPORATION; and
  SUPER CAFETERIA OF MIAMI CORP.,

          Defendants.
  ______________________________________/

                                              COMPLAINT

         Plaintiff, DOUG LONGHINI, individually and on behalf of all other similarly situated

  mobility-impaired individuals (hereinafter “Plaintiff”), sues GALLART INVESTMENT, INC.;

  GALLART OIL, CORPORATION; and SUPER CAFETERIA OF MIAMI CORP. (hereinafter

  “Defendant”), and as grounds alleges:

                               JURISDICTION, PARTIES. AND VENUE

         1.         This is an action for injunctive relief, a declaration of rights, attorneys' fees,

  litigation expenses, and costs pursuant to 42 U.S.C. § 12181, et seq., (the “Americans with

  Disabilities Act” or “ADA”) and 28 U.S.C. §§ 2201 and 2202.

         2.         The Court has original jurisdiction over Plaintiff’s claims arising under 42 U.S.C.

  § 12181, et seq. pursuant to 28 U.S.C. §§ 1331, 1343 and 42 U.S.C. § 12117(a).

         3.         The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 2201 and 2202,

  and may render declaratory judgment on the existence or nonexistence of any right under 42

  U.S.C. § 12181, et seq.

         4.         Plaintiff, DOUG LONGHINI, is an individual over eighteen years of age, residing
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  in Miami-Dade County, Florida, and is otherwise sui juris.

         5.      At all times material, Defendant, GALLART INVESTMENT, INC., owned and

  operated a place of public accommodation at 7850 NW 74th Street, Medley, Florida 33166

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in that

  place of public accommodation in Miami-Dade, Florida.

         6.      At all times material, Defendant, GALLART INVESTMENT, INC., was and is a

  Florida Profit Corporation, incorporated under the laws of the State of Florida, with its principal

  place of business in Medley, Florida.

         7.      At all times material, Defendant, GALLART OIL, CORPORATION, owned and

  operated a gas station business at 7850 NW 74th Street, Medley, Florida 33166 (hereinafter the

  “Commercial Property”) and conducted a substantial amount of business in the place of public

  accommodation in Miami-Dade, Florida. Defendant, GALLART OIL, Corporation, holds itself

  out to the public as “Chevron #7850.”

         8.      At all times material, Defendant, GALLART OIL, CORPORATION, was and is a

  Florida Profit Corporation, incorporated under the laws of the State of Florida, with its principal

  place of business in Medley, Florida.

         9.      At all times material, Defendant, SUPER CAFETERIA OF MIAMI CORP.,

  owned and operated a commercial restaurant within 7850 NW 74th Street, Medley, Florida 33166

  (hereinafter the “Commercial Property”) and conducted a substantial amount of business in the

  place of public accommodation in Miami-Dade, Florida. Defendant, SUPER CAFETERIA OF

  MIAMI CORP., holds itself out to the public as “Super Cafeteria of Miami.”

         10.     At all times material, Defendant, SUPER CAFETERIA OF MIAMI CORP., was

  and is a Florida Profit Corporation, incorporated under the laws of the State of Florida, with its



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  principal place of business in Medley, Florida.

         11.     Venue is properly located in the Southern District of Florida because Defendants’

  Commercial Property is located in Miami-Dade County, Florida, Defendants regularly conduct

  business within Miami-Dade County, Florida, and because a substantial part(s) of the events or

  omissions giving rise to these claims occurred in Miami-Dade County, Florida.

                                         FACTUAL ALLEGATIONS

         12.     Although over twenty-eight (28) years has passed since the effective date of Title

  III of the ADA, Defendant has yet to make its facilities accessible to individuals with disabilities.

         13.     Congress provided commercial businesses one and a half years to implement the

  Act. The effective date was January 26, 1992. In spite of this abundant lead-time and the extensive

  publicity the ADA has received since 1990, Defendants continue to discriminate against people

  who are disabled in ways that block them from access and use of Defendants’ businesses and

  properties.

         14.     The ADA prohibits discrimination on the basis of disability in 28 CFR 36.201 and

  requires landlords and tenants to be liable for compliance.

         15.     Plaintiff, DOUG LONGHINI, is an individual with disabilities as defined by and

  pursuant to the ADA. DOUG LONGHINI uses a wheelchair to ambulate. DOUG LONGHINI

  has very limited use of his hands and cannot operate any mechanisms which require tight grasping

  or twisting of the wrist. He also has a great deal of trouble walking or otherwise ambulating

  without the use of a wheelchair. He is limited in his major life activities by such, including but

  not limited to walking, standing, grabbing, grasping and/or pinching.

         16.     Defendant, GALLART INVESTMENT, INC., INC., owns, operates and oversees

  the Commercial Property, its general parking lot and parking spots.



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         17.       The subject Commercial Property is open to the public and is located in Medley,

  Miami-Dade County, Florida.

         18.       The individual Plaintiff visits the Commercial Property and business located within

  the Commercial Property, regularly, and returned to the Property to document the ADA barriers

  at the Commercial Property and business located within the Commercial Property on or about

  May 20, 2021, encountering multiple violations of the ADA that directly affected his ability to

  use and enjoy the Commercial Property and business located therein. He often visits the

  Commercial Property and business located within the Commercial Property in order to avail

  himself of the goods and services offered there, and because it is approximately fifteen (15) miles

  from his residence and is near his friends’ residences as well as other business he frequents as a

  patron. He plans to return to the Commercial Property and the business located within the

  Commercial Property within two (2) months of filing this Complaint, specifically on or before

  July 30, 2021.

         19.       Plaintiff resides nearby in the same County and state as the Commercial Property

  and the business located within the Commercial Property, has regularly frequented the

  Defendants’ Commercial Property and the business located within the Commercial Property for

  the intended purposes because of the proximity to his and his friends’ residences and other

  business that he frequents as a patron, and intends to return to the Commercial Property and

  business located within the Commercial Property within two (2) months from the filing of this

  Complaint. Specifically, Plaintiff intends to revisit the Property on or before July 30, 2021.

         20.       The Plaintiff found the Commercial Property, and the business located within the

  Commercial Property to be rife with ADA violations. The Plaintiff encountered architectural

  barriers at the Commercial Property, and business located within the Commercial Property and



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  wishes to continue his patronage and use of each of the premises.

         21.     The Plaintiff has encountered architectural barriers that are in violation of the ADA

  at the subject Commercial Property, and business located within the Commercial Property. The

  barriers to access at Defendant’s Commercial Property, and the business located within the

  Commercial Property has each denied or diminished Plaintiff’s ability to visit the Commercial

  Property, and business located within the Commercial Property, and has endangered his safety in

  violation of the ADA. The barriers to access, which are set forth below, has likewise posed a risk

  of injury(ies), embarrassment, and discomfort to Plaintiff, DOUG LONGHINI, and others

  similarly situated.

         22.     Defendants,     GALLART          INVESTMENT,          INC.;    GALLART          OIL,

  CORPORATION; and SUPER CAFETERIA OF MIAMI CORP., own and operate a place of

  public accommodation as defined by the ADA and the regulations implementing the ADA, 28

  CFR 36.201 (a) and 36.104. Defendants, GALLART INVESTMENT, INC.; GALLART OIL,

  CORPORATION; and SUPER CAFETERIA OF MIAMI CORP., are responsible for complying

  with the obligations of the ADA. The place of public accommodation that Defendants, GALLART

  INVESTMENT, INC.; GALLART OIL, CORPORATION; and SUPER CAFETERIA OF

  MIAMI CORP., own and/or operate is located at 7850 NW 74th Street, Medley, Florida 33166.

         23.     Plaintiff, DOUG LONGHINI, has a realistic, credible, existing and continuing

  threat of discrimination from the Defendant’s non-compliance with the ADA with respect to the

  described Commercial Property and the business located within the Commercial Property,

  including but not necessarily limited to the allegations in this Complaint. Plaintiff has reasonable

  grounds to believe that he will continue to be subjected to discrimination at the Commercial

  Property, and business located within the Commercial Property, in violation of the ADA. Plaintiff



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      desires to visit the Commercial Property and business located therein, not only to avail himself of

      the goods and services available at the Commercial Property, and business located within the

      Commercial Property, but to assure himself that the Commercial Property and business located

      within the Commercial Property are in compliance with the ADA, so that he and others similarly

      situated will has full and equal enjoyment of the Commercial Property, and business located

      within the Commercial Property without fear of discrimination.

             24.     Defendant, GALLART INVESTMENT, INC., INC., as landlord and owner of the

      Commercial Property Business, is responsible for all ADA violations listed in this Complaint.

             25.     Defendants have discriminated against the individual Plaintiff by denying him

      access to, and full and equal enjoyment of, the goods, services, facilities, privileges, advantages

      and/or accommodations of the Commercial Property, and business located within the Commercial

      Property, as prohibited by 42 U.S.C. § 12182 et seq.

                                         COUNT I – ADA VIOLATIONS

             26.     The Plaintiff adopts and re-alleges the allegations set forth in paragraphs 1 through

      25 above as though fully set forth herein.

             27.     Defendants have discriminated, and continues to discriminate, against Plaintiff in

      violation of the ADA by failing, inter alia, to have accessible facilities by January 26, 1992 (or

      January 26, 1993, if a Defendants have 10 or fewer employees and gross receipts of $500,000 or

      less). A list of the violations that Plaintiff encountered during his visit to the Commercial

      Property, include but are not limited to, the following:

         A. Entrance Access and Path of Travel

 i.      The plaintiff had difficulty entering tenant spaces without assistance, as the entrance thresholds

         are too high. Violation: There are threshold rises in excess of ½ inch at the tenant entrances,

         violating Section 4.13.8 of the ADAAG and Section 404.2.5 of the 2010 ADA Standards,

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       whose resolution is readily achievable.

ii.    The plaintiff could not traverse through areas of the facility, as the required 36” path isn’t

       provided due to objects that obstruct the path of travel. Violation: There isn’t a continuous path

       of travel connecting all essential elements of the facility, in violation of Sections 4.2.1 & 4.3.3

       of the ADAAG, 28 CFR 36.211, and Section 403.5.1 of the 2010 ADA Standards, whose

       resolution is readily achievable.

iii.   The plaintiff could not enter tenant spaces without assistance, as the required level landing is

       not provided. Violation: A level landing that is 60 inches minimum perpendicular to the

       doorway is not provided at accessible entrances violating Section 4.13.6 and Figure 25(a) of

       the ADAAG and Section 404.2.4 of the 2010 ADA Standards, whose resolution is readily

       achievable.

iv.    The plaintiff had difficulty traversing the path of travel, as it was not continuous and accessible.

       Violation: There are inaccessible routes between sections of the facility. These are violations

       of the requirements in Sections 4.3.2(2), 4.3, and 4.5 of the ADAAG and Sections 206.2.2,

       303, 402 and 403, whose resolution is readily achievable.

 v.    The plaintiff had difficulty traversing the path of travel, as there are cross slopes in excess of

       2%. Violation: The path of travel contains excessive cross slopes in violation of Section 4.3.7

       of the ADAAG and Section 403.3 of the 2010 ADA Standards, whose resolution is readily

       achievable.

vi.    The plaintiff had difficulty traversing the path of travel due to abrupt changes in level.

       Violation: There are changes in levels of greater than ½ inch, violating Sections 4.3.8 and 4.5.2

       of the ADAAG and Section 303 of the 2010 ADA Standards, whose resolution is readily

       achievable.



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       B. Access to Goods and Services

  i.   The plaintiff could not use the sales counters without assistance, as they are mounted too high.

       Violation: There are sales counters at the facility in excess of 36” high, violating Section 7.2(1)

       of the ADAAG and Section 904.4 of the 2010 ADA Standards, whose resolution is readily

       achievable.

ii.    There is seating provided at the facility that does not comply with the standards prescribed in

       Section 4.32 of the ADAAG and Sections 226 & 902 of the 2010 ADA Standards, whose

       resolution is readily achievable.

       C. Public Restrooms

  i.   There are permanently designated interior spaces without proper signage, violating Section

       4.1.3(16) and 4.30 of the ADAAG and Sections 216.2 and 703 of the 2010 ADA Standards,

       whose resolution is readily achievable.

ii.    The plaintiff could not enter the restroom area without assistance, as the required maneuvering

       clearance is not provided. Violation: The restroom area door does not provide the required

       latch side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010

       ADA Standards, whose resolution is readily achievable.

iii.   The plaintiff had difficulty using the doorknob on the restroom area door without assistance,

       as it requires tight grasping. Violation: The restroom area door has non-compliant hardware

       for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG and Sections 309.4 &

       404.2.7 of the 2010 ADA Standards, whose resolution is readily achievable.

iv.    The plaintiff could not enter the restroom without assistance, as the required maneuvering

       clearance is not provided. Violation: The restroom door does not provide the required latch

       side clearance violating Section 4.13.6 of the ADAAG and Section 404.2.4 of the 2010 ADA



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        Standards, whose resolution is readily achievable.

  v.    The plaintiff had difficulty using the doorknob and the locking mechanism on the restroom

        door without assistance, as they require tight grasping. Violation: The restroom door has non-

        compliant hardware for disabled patrons, violating Sections 4.13.9 & 4.27.4 of the ADAAG

        and Sections 309.4 & 404.2.7 of the 2010 ADA Standards, whose resolution is readily

        achievable.

 vi.    The plaintiff could not transfer to the toilet without assistance, as a wall is within the required

        clear floor space. Violation: The required clear floor space is not provided next to the toilet,

        violating Section 4.16.2 & Figure 28 of the ADAAG and 604.3 of the 2010 ADA Standards,

        whose resolution is readily achievable.

vii.    The plaintiff could not transfer to the toilet without assistance, as a trashcan obstructs the clear

        floor space. Violation: The required clear floor space is not provided next to the toilet,

        violating Section 4.16.2 & Figure 28 of the ADAAG, 28 CFR 36.211, and 604.3 of the 2010

        ADA Standards, whose resolution is readily achievable.

viii.   The plaintiff could not transfer to the toilet without assistance, as the grab bars are missing.

        Violation: The grab bars do not comply with the requirements prescribed in Section 4.16.4

        and Figure 29 of the ADAAG and Sections 604.5 and 609 of the 2010 ADA Standards, whose

        resolution is readily achievable.

 ix.    The plaintiff could not use the lavatory without assistance, as the required knee & toe

        clearances are not provided. Violation: There are lavatories in public restrooms without the

        required clearances provided, violating the requirements in Section 4.19.2 and Figure 31 of

        the ADAAG and Sections 306 and 606.2 of the 2010 ADA Standards, whose resolution is

        readily achievable.



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 x.       The plaintiff could not use the soap bottle without assistance, as it requires a tight grasp to

          operate. Violation: The soap dispensers require a tight grasp to operate in violation of Section

          4.27.4 of the ADAAG and Section 309.4 of the 2010 ADA Standards, whose resolution is

          readily achievable.

xi.       The plaintiff could not use the lavatory faucets without assistance, as they require a tight grasp

          and twist to operate. Violation: Compliant faucets are not provided at the lavatory violating

          Sections 4.19.5 and 4.27.4 of the ADAAG and Sections 309.4 and 606.4 of the 2010 ADA

          Standards, whose resolution is readily achievable.

xii.      The plaintiff could not enter the restroom without assistance, as the distance between the inner

          and outer restroom doors is less than 48". Violation: The distance between two doors in a

          series is less than the prescribed minimum violating Section 4.13.7 of the ADAAG and Section

          404.2.6 of the 2010 ADA Standards, whose resolution is readily achievable.

                                    RELIEF SOUGHT AND THE BASIS

              28.     The discriminatory violations described in both Counts are not an exclusive list of

       the Defendants’ ADA violations. Plaintiff requests an inspection of the Defendants’ places of

       public accommodation in order to photograph and measure all of the discriminatory acts violating

       the ADA and barriers to access in conjunction with Rule 34 and timely notice. Plaintiff further

       requests to inspect any and all barriers to access that were concealed by virtue of the barriers'

       presence, which prevented Plaintiff, DOUG LONGHINI, from further ingress, use, and equal

       enjoyment of the Commercial Business and business located within the Commercial Property;

       Plaintiff requests to be physically present at such inspection in conjunction with Rule 34 and

       timely notice. A complete list of the Subject Premises’ ADA violations, and the remedial

       measures necessary to remove same, will require an on-site inspection by Plaintiff’s



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  representatives pursuant to Federal Rule of Civil Procedure 34.

          29.     The individual Plaintiff, and all other individuals similarly situated, have been

  denied access to, and have been denied full and equal enjoyment of the goods, services, facilities

  privileges, benefits, programs and activities offered by Defendants, Defendants’ buildings,

  business and facilities; and has otherwise been discriminated against and damaged by the

  Defendants because of the Defendants’ ADA violations as set forth above. The individual

  Plaintiff, and all others similarly situated, will continue to suffer such discrimination, injury and

  damage without the immediate relief provided by the ADA as requested herein. In order to remedy

  this discriminatory situation, The Plaintiff requires an inspection of the Defendants’ place of

  public accommodation in order to determine all of the areas of non-compliance with the

  Americans with Disabilities Act.

          30.     Defendants have discriminated against the individual Plaintiff by denying him

  access to full and equal enjoyment of the goods, services, facilities, privileges, advantages and/or

  accommodations of its place of public accommodation or commercial facility, in violation of 42

  U.S.C. § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore, the Defendants continue to

  discriminate against Plaintiff, and all those similarly situated, by failing to make reasonable

  modifications in policies, practices or procedures, when such modifications are necessary to afford

  all offered goods, services, facilities, privileges, advantages or accommodations to individuals

  with disabilities; and by failing to take such efforts that may be necessary to ensure that no

  individual with a disability is excluded, denied services, segregated or otherwise treated

  differently than other individuals because of the absence of auxiliary aids and services.

          31.     Plaintiff is without adequate remedy at law, will suffer irreparable harm, and has a

  clear legal right to the relief sought. Further, injunctive relief will serve the public interest and all



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  those similarly situated to Plaintiff. Plaintiff has retained the undersigned counsel and is entitled

  to recover attorneys’ fees, costs and litigation expenses from Defendants pursuant to 42 U.S.C. §

  12205 and 28 CFR 36.505.

         32.     A Defendant is required to remove the existing architectural barriers to the

  physically disabled when such removal is readily achievable for their place of public

  accommodation, The Plaintiff and all others similarly situated, will continue to suffer such

  discrimination, injury and damage without the immediate relief provided by the ADA as requested

  herein. In order to remedy this discriminatory situation, The Plaintiff requires an inspection of the

  Defendants’ place of public accommodation in order to determine all of the areas of non-

  compliance with the Americans with Disabilities Act.

         33.     Notice to Defendants is not required as a result of the Defendants’ failure to cure

  the violations by January 26, 1992 (or January 26, 1993, if a Defendants have 10 or fewer

  employees and gross receipts of $500,000 or less). All other conditions precedent have been met

  by Plaintiff or waived by the Defendant.

         34.     Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

  Plaintiff Injunctive Relief, including an order to alter the property where Defendants operate the

  business, located at and/or within the commercial property located at 7850 NW 74th Street,

  Medley, Florida 33166, the exterior areas, and the common exterior areas of the Commercial

  Property and business located within the Commercial Property, to make those facilities readily

  accessible and useable to The Plaintiff and all other mobility-impaired persons; or by closing the

  facility until such time as the Defendants cure the violations of the ADA.

         WHEREFORE, The Plaintiff, DOUG LONGHINI, respectfully requests that this

  Honorable Court issue (i) a Declaratory Judgment determining Defendant at the commencement



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  of the subject lawsuit were and are in violation of Title III of the Americans with Disabilities Act,

  42 U.S.C. § 12181 et seq.; (ii) Injunctive relief against Defendant including an order to make all

  readily achievable alterations to the facilities; or to make such facilities readily accessible to and

  usable by individuals with disabilities to the extent required by the ADA; and to require Defendant

  to make reasonable modifications in policies, practices or procedures, when such modifications

  are necessary to afford all offered goods, services, facilities, privileges, advantages or

  accommodations to individuals with disabilities; and by failing to take such steps that may be

  necessary to ensure that no individual with a disability is excluded, denied services, segregated or

  otherwise treated differently than other individuals because of the absence of auxiliary aids and

  services; (iii) An award of attorneys’ fees, costs and litigation expenses pursuant to 42 U.S.C. §

  12205; and (iv) such other relief as the Court deems just and proper, and/or is allowable under

  Title III of the Americans with Disabilities Act.

  Dated: June 15, 2021

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